             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                CRIMINAL CASE NO. 1:08-cr-40-MR-1


UNITED STATES OF AMERICA         )
                                 )
              vs.                )                   ORDER
                                 )
EDWARD BLAINE MINTZ              )
________________________________ )


     THIS MATTER is before the Court on the Defendant’s Motion for

Reduction of Sentence filed pursuant to 18 United States Code §

3582(c)(2) and U.S.S.G. § 1B1.10(c), Amendment 780 (Nov. 1, 2014).

[Doc. 155].

     It appears to the Court that the Defendant has stated a colorable

basis for relief in his Motion.    In addition, the Probation Office has

submitted a supplement to the Defendant’s Presentence Report indicating

that he may be entitled to relief in the very short term. Based thereon, the

Court determines that the United States Attorney should file a response to

the Defendant’s Motion.

     IT IS, THEREFORE, ORDERED that no later than ten (10) days from

the entry of this Order, the United States Attorney shall file a pleading

responsive to Defendant’s Motion for Reduction of Sentence.



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IT IS SO ORDERED.

                          Signed: November 6, 2014




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